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                          UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF MASSACHUSETTS



IN RE PHARMACEUTICAL INDUSTRY                     )
AVERAGE WHOLESALE PRICE                           )    MDL No. 1456
LITIGATION                                        )
                                                  )    CIVIL ACTION: 01-CV-12257-PBS
                                                  )
THIS DOCUMENT RELATES TO:                         )    Judge Patti B. Saris
                                                  )
ALL ACTIONS                                       )
                                                  )


               [PROPOSED] ORDER GRANTING PLAINTIFFS’
       MOTION TO REVISE BRIEFING SCHEDULE REGARDING TRACK 1
    DEFENDANTS’ MOTION FOR SUMMARY JUDGMENT REGARDING CLASS 3


         THIS MATTER is before the Court on Plaintiffs’ unopposed motion to revise briefing

schedule regarding Track 1 Defendants’ motion for summary judgment regarding Class 3. The

Court, having considered all pleadings in support and in opposition thereto, and being fully

advised in the premises, hereby

         GRANTS Plaintiffs’ unopposed motion and revises the briefing schedule as follows:

          Plaintiffs’ Summary Judgment                      August 30, 2006
          Oppositions Regarding Class 3
          Summary Judgment Replies                        September 22, 2006
          Regarding Class 3
          Summary Judgment Sur-replies                      October 3, 2006
          Regarding Class 3




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         IT IS SO ORDERED.




         DATED: _____________________      _________________________________
                                                 Hon. Patti B. Saris
                                                 United States District Court Judge




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                               CERTIFICATE OF SERVICE

        I hereby certify that I, Steve W. Berman, an attorney, caused a true and correct copy of
the foregoing [PROPOSED] ORDER GRANTING PLAINTIFFS’ MOTION TO REVISE
BRIEFING SCHEDULE REGARDING TRACK 1 DEFENDANTS’ MOTION FOR
SUMMARY JUDGMENT REGARDING CLASS 3 be delivered to all counsel of record by
electronic service pursuant to Paragraph 11 of the Case Management Order No. 2, by sending on
August 9, 2006, a copy to LexisNexis File and Serve for Posting and notification to all parties


                                            By        /s/ Steve W. Berman
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